        Case:14-22739-MER Doc#:116 Filed:03/01/19                              Entered:03/01/19 22:31:44 Page1 of 2
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 14-22739-MER
Liisa Beth Wilson                                                                                          Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: potters                      Page 1 of 1                          Date Rcvd: Feb 27, 2019
                                      Form ID: pdf904                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 01, 2019.
db             +Liisa Beth Wilson,   7755 E. Quincy Ave., #67,   Denver, CO 80237-2312

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 01, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 27, 2019 at the address(es) listed below:
              Angela Hopkins     on behalf of Creditor    Condominium Association of Whispering Pines of Denver
               Angela@WesternLawGroup.com, angelahopkins14@gmail.com
              Douglas B. Kiel    ecfmail@denver13.com
              Holly R. Shilliday    on behalf of Creditor    Wells Fargo Bank, N.A. bknotice@mccarthyholthus.com,
               hshilliday@mccarthyholthus.com;hshilliday@ecf.courtdrive.com
              Ilene Dell’Acqua     on behalf of Creditor    Wells Fargo Bank, N.A. bknotice@mccarthyholthus.com,
               idellacqua@ecf.courtdrive.com;idellacqua@mccarthyholthus.com
              US Trustee, 13   USTPRegion19.DV.ECF@usdoj.gov
                                                                                              TOTAL: 5
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